          Case 2:23-cr-00197-JS-AYS Document 9 Filed 05/10/23 Page 1 of 1 PageID #: 34
`BEFORE: Anne Y. Shields, USMJ                                                                   DATE: 5/10/23

                            CRIMINAL CAUSE FOR ARRAIGNMENT/INITIAL APPEARANCE

DOCKET #: CR-23-197-JS-AYS                          CAPTION:       USA v. Devolder Santos        Time: 1:30 PM (30 min)

DEFENDANT: George Anthony Devolder Santos   Deft. #1                           COUNSEL: Joseph W. Murray
 X Present ____Not Present   In custody   Bail                                   CJA X Retained       Federal Defenders
                            X Self Surrender

GOVERNMENT: Jacob Steiner, Jolee Porter, Ryan C . Harris, Anthony Bagnuola, Laura Zuckerwise

COURT REPORTER: Paul Lombardi

COURTROOM DEPUTY: JT              PRETRIAL REPORT PREPARED BY:                    Amanda Sanchez
                                                                                  X present      not present

 X      Case called.

 X      Defendant arraigned on Counts on all counts of the Indictment.

 X      Defendants initial appearance.

 X      Defendant waives public reading and pleads not guilty to all counts of the Indictment.

        Preliminary Hearing waiver executed.

 X      Speedy Trial Order Information: Code Type: X-
                                        Start Date: 5/10/23 XSTART
                                        Stop Date: 6/30/23 XSTOP

         Waiver of Speedy Indictment executed:   Time excluded from               through

  X     Order Setting Conditions of Release and Bond executed for defendant. See bond for details.

        Temporary Order of Detention entered for defendant (s):

_____   Detention Hearing scheduled for: ________________________________

        Permanent Order of Detention entered for defendant.

_____   Rule 40 Hearing held.

_____   Removal Hearing scheduled for: ________________________________________

  X     In Person Status Conference set for : 6/30/23 at 12:00 PM before Judge Seybert

  X     Defendant released on Bond.

        Defendant continues in custody.

OTHER:
